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                Exhibit A
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                                                         Parties’ Proposed Schedules 1
                                                                                Plaintiff’s
                                                          Plaintiff’s                             Defendants’ June     Defendants’ July
                         Event                                                  September
                                                       October Proposal                               Proposal             Proposal
                                                                                 Proposal
    Complaint Filed                                      Jan. 30, 2025         Jan. 30, 2025        Jan. 30, 2025        Jan. 30, 2025
    Answers Filed                                                              Feb. 10, 2025        Feb. 10, 2025        Feb. 10, 2025
    Discovery Begins                                                          Feb. 14., 2025        Feb. 14, 2025        Feb. 14, 2025
    Plaintiff Produce Investigative File                                     No later than Feb.   No later than Feb.   No later than Feb.
                                                                                 20, 2025             20, 2025             20, 2025
    Any other parties must be joined or the
                                                         Mar. 6, 2025          Feb. 28, 2025        Feb. 28, 2025        Feb. 28, 2025
    pleadings amended
    Parties exchange preliminary trial fact
                                                         Apr. 17, 2025        Mar. 14, 2025         Mar. 14, 2025       Mar. 14, 2025
    witness lists
    Parties exchange designations of the field of
    expertise for all experts they intend to call in
                                                         Apr. 17, 2025         May 9, 2025          Apr. 4, 2025         Apr. 21, 2025
    their respective case-in-chief and defense
    case
    Close of Fact Discovery                              June 26, 2025         May 23, 2025         Apr. 10, 2025        Apr. 23, 2025
    Parties serve initial expert reports on the
                                                         July 3, 2025          May 30, 2025         Apr. 11, 2025        Apr. 28, 2025
    issues on which the Parties bear the burden
    Parties exchange final trial fact witness lists      May 22, 2025          May 30, 2025         Apr. 18, 2025        May 5, 2025
    Parties to serve any rebuttal expert reports to
                                                         July 31, 2025         June 20, 2025        May 2, 2025          May 19, 2025
    the initial expert reports
    Close of Supplemental Fact Discovery                                       June 20, 2025        May 2, 2025          May 21, 2025


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    Shaded in green are events and deadlines on which the Parties agree.
                                                                         1
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                                                                          Plaintiff’s
                                                      Plaintiff’s                        Defendants’ June     Defendants’ July
                    Event                                                 September
                                                   October Proposal                          Proposal             Proposal
                                                                           Proposal
Parties to serve any reply expert reports to the
                                                    Aug. 28, 2025        July 11, 2025        May 9, 2025      May 28, 2025
rebuttal expert reports
Parties exchange exhibit lists (including
redacted versions of such exhibits, as set forth
                                                     Sept. 4, 2025       July 18, 2025        May 8, 2025       June 2, 2025
in the Protective Order) and opening
deposition designations
Deadline for expert depositions and close of
                                                    Sept. 11, 2025       July 25, 2025        May 21, 2025     June 13, 2025
expert discovery
Parties exchange of objections to exhibit lists
(including redacted versions of any exhibits
identified by the opposing Party that contain
information the Party previously designated
as Confidential or Highly Confidential
                                                    Sept. 15, 2025       July 25, 2025        May 16, 2025     June 11, 2025
Information and objections to redactions that
were initially exchanged with the exhibit
lists, as set forth in the Protective Order),
objections to deposition designations, and/or
counters to deposition designations
Each Party informs each non-party of all
documents produced by that non-party that
are on the Party’s exhibit list and all             Sept. 11, 2025       July 29, 2025        May 9, 2025       June 5, 2025
depositions of that non-party that have been
designated by any Party.
Parties serve expert witness lists, including                            Aug. 1, 2025
designations of all experts that each intends
to call in its respective case, along with a                                                  May 22, 2025     June 16, 2025
brief statement of the subject matter on which
the expert will testify

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                                                                          Plaintiff’s
                                                     Plaintiff’s                            Defendants’ June   Defendants’ July
                     Event                                                September
                                                  October Proposal                              Proposal           Proposal
                                                                           Proposal


Each side exchanges its objections to the
                                                   Sept. 17, 2025         Aug. 1, 2025         May 23, 2025      June 18, 2025
other side’s deposition counter-designations
Any Party or non-party Protected Person that
seeks to prevent its Confidential Information
or Highly Confidential Information contained
in a trial exhibit or designated deposition        Sept. 19, 2025         Aug. 5, 2025         May 19, 2025      June 16, 2025
testimony from being disclosed on the public
record at Trial must file a motion with the
Court seeking to seal such information
Parties meet and confer regarding disputes
about trial exhibits and deposition                Sept. 19 – Sept.     Aug. 6 - Aug. 15,   May 23 - May 28,   June 19 - June 23,
designations, including confidentiality of any        24, 2025                2025               2025                2025
Party and non-party documents or depositions
Deadline for filing motions in limine and
                                                   Sept. 26, 2025        Aug. 12, 2025         May 23, 2025      June 18, 2025
Daubert motions
Joint Party Submission to Court regarding
disputes about admissibility of trial exhibits,
                                                    Oct. 10, 2025        Aug. 19, 2025         May 29, 2025      June 25, 2025
confidentiality issues, and deposition
designations
Pre-trial briefs and proposed findings of fact
and conclusions of law to be filed (in a            Oct. 10, 2025        Aug. 19, 2025         May 30, 2025      June 25, 2025
format to be directed by the Court)
Responses to any motions in limine or
                                                    Oct. 3, 2025         Aug. 26, 2025         May 30, 2025      June 25, 2025
Daubert motions
Final pre-trial conference                          Oct. 20, 2025         Sept. 2, 2025        June 2, 2025      June 30, 2025

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                                                                            Plaintiff’s
                                                      Plaintiff’s                              Defendants’ June      Defendants’ July
                     Event                                                  September
                                                   October Proposal                                Proposal              Proposal
                                                                             Proposal
Parties submit final trial exhibits to Court (in
                                                                           Sept. 3, 2025         June 11, 2025         July 9, 2025
a format to be directed by the Court)
Trial begins                                         Oct. 27, 2025         Sept. 8, 2025        June 16, 2025          July 14, 2025
Post-trial briefs and proposed findings of fact
                                                   Three weeks after     10 days after trial   10 days after trial   10 days after trial
and conclusions of law to be filed (in a
                                                    trial concludes          concludes             concludes             concludes
format to be directed by the Court)




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